1. A court of ordinary has jurisdiction of a petition of former executors of an estate, which is being administered in that court, to cite the administrator de bonis non cum testamento annexo to show cause why certain disputed items, claimed by the former legal representatives to be proper items of interlocutory costs or expenses of administration *Page 708 
incurred by them or owing to them in connection with their administration of the estate, should not be allowed and paid as items of costs and expenses of administration.
(a) It is not a valid ground of objection to a petition filed in the court of ordinary that the petition is addressed to the ordinary, for, in this State, "ordinary" and "court of ordinary" are treated as interchangeable terms when used in pleadings before the ordinary or in the court of ordinary.
2. A petition which has a single defendant or respondent and a single subject-matter, and in which each of the petitioners has an interest in the relief sought, is not multifarious.
3. The allegations of the petition which sought to have the expense of an audit of the estate, made by a third party at the request of the administrator, declared to be a proper item of interlocutory costs and paid as such, were legally sufficient; and the court did not err in overruling the demurrer, on the ground that it did not appear that the petitioners had the right to maintain the action, or that the expense of the audit was necessary or had been found necessary by the ordinary.
4. It is not error to overrule grounds of a demurrer that are merely restatements of grounds contained in a motion in the nature of a general demurrer, which has been overruled.
5. The allegations of the petition, that a named individual died testate, and in his will nominated the petitioners as executors of his estate, and that they qualified as such on a certain date and have since acted as such executors, are sufficient to show the authority of the petitioners to maintain the action; and the trial judge did not err in overruling the demurrer attacking these allegations, on the ground that it did not appear that the will had been probated and that the petitioners were acting, under the provisions of the will rather than under the provisions of an unsigned paper in the form of a will, which the deceased had caused to be prepared prior to his death, but which he had never executed as his will.
         DECIDED APRIL 4, 1946. REHEARING DENIED APRIL 18, 1946.
George W. Hunt and George A. Mercer Jr., as executors of the estate of George A. Mercer Sr., and George W. Hunt, individually, filed a petition against Walter B. Murphy, as administrator de bonis non cum testamento annexo of the estate of Mrs. Honora Purvis, deceased, hereinafter called the administrator, which petition was addressed to the ordinary of Chatham County, Georgia, and filed in the court of ordinary of Chatham County, Georgia, on June 21, 1945. The petition alleged, in substance: that Mrs. Honora Purvis died testate, a resident of Chatham County, Georgia, on August 25, 1925, and that her will nominated George A. *Page 709 
Mercer Sr. as executor and provided that he was to receive the usual commissions for his services; that her will was duly probated in both common and solemn form and George A. Mercer Sr. duly qualified and acted as executor of her estate from August 31, 1925, until his death on November 14, 1940; that, while acting as executor of her estate, George A. Mercer Sr. became entitled to commissions for his services in the amount of $432.92, of which no part had been paid; that George A. Mercer Sr. died leaving a will, dated June 18, 1940, wherein George W. Hunt and George A. Mercer Jr. were nominated executors, and leaving an unsigned paper in the form of a will, which had been prepared shortly before his death but never signed by him, and in which they were nominated as executors; that, after the death of George A. Mercer Sr., the legatees under his will, dated June 18, 1940, entered into a written agreement on November 14, 1940, to carry out the provisions of the unsigned will as though it had been properly executed as the will of George A. Mercer Sr., and presented to the ordinary a petition setting out this fact, and on November 20, 1940, an order was signed by the ordinary ratifying the agreement and asserting that no administration should be had on the estate of George A. Mercer Sr.; that on February 7, 1941, the ordinary amended his previous order, by striking the assertion that no administration on the estate of George A. Mercer Sr. should be had, and ordered that George W. Hunt and George A. Mercer Jr. be allowed to qualify as executors of said estate upon their taking the oath as such, which they did on February 10, 1941, and that they have since acted as such executors; that George W. Hunt filed a petition in the court of ordinary setting out that he and George A. Mercer Jr. were the duly qualified executors of the estate of George A. Mercer Sr., and that George A. Mercer Jr. had declined to act in connection with the estate of Mrs. Honora Purvis, and that George W. Hunt was entitled to act as executor of her estate; that on September 1, 1943, the ordinary signed an order confirming him as executor of her estate, and he took the usual oath of office; that on June 7, 1944, Walter B. Murphy, as county administrator, filed a petition with the ordinary, which petition alleged that George W. Hunt was illegally appointed executor of the estate of Mrs. Honora Purvis because he was not the duly qualified executor of the estate of George A. Mercer Sr.; *Page 710 
that the estate of Mrs. Honora Purvis was unrepresented and George W. Hunt was willing to surrender his letters testamentary, and the petition asked that the letters testamentary issued to George W. Hunt be cancelled and that Walter B. Murphy be appointed administrator de bonis non cum testamento annexo of the estate of Mrs. Honora Purvis; that he was appointed as such administrator and qualified on June 7, 1944; that George W. Hunt actually acted as executor of the estate of Mrs. Honora Purvis from November 14, 1940, until June 13, 1944, and during this period of time earned commissions of $75.53, of which no part had been paid although he had demanded payment; that, at or about the time Murphy qualified as administrator de bonis non cum testamento annexo on the estate of Mrs. Honora Purvis, he requested George W. Hunt to have an audit made of the estate; that George W. Hunt employed Thomas J. O'Brien  Company to make an audit of the estate of Mrs. Honora Purvis, which it did and which audit George W. Hunt delivered to the administrator along with all the assets of the estate in his possession; that although O'Brien  Company had requested payment of the account, amounting to $155, the administrator had refused payment and denied that the estate of Mrs. Honora Purvis was responsible, because he had not authorized the audit to be made; that the administrator had converted the estate into cash and was preparing to distribute the funds in accordance with the will of Mrs. Honora Purvis. The prayers of the petition were: that a hearing be had on said petition; that the administrator be notified of the time and place of the hearing; and that the administrator be authorized and directed to pay out of funds in his hands as such administrator $432.92 to George W. Hunt and George A. Mercer Jr., as executors of the estate of George A. Mercer Sr., $75.53 to George W. Hunt, individually, and $155 to O'Brien  Company, and the costs of the proceedings.
The ordinary ordered that a copy of the petition be served on the administrator, and that he show cause on July 2, 1945, why the prayers of the petition should not be granted. A citation was issued by the clerk of the court of ordinary, directing the administrator to show cause on July 2, 1945, why such prayers should not be granted, and copies of the petition and citation were served on the administrator by a deputy sheriff of said county. *Page 711 
On June 28, 1945, the administrator filed a written motion in the court of ordinary to dismiss the petition and citation, on the grounds that it appeared from the petition: (1) that the ordinary of Chatham County did not have jurisdiction of any of the causes of action set out in the petition; (2) that the court of ordinary of Chatham County did not have jurisdiction of any of such causes of action; (3) that the ordinary of Chatham County did not have jurisdiction to grant any of the prayers of the petition; and (4) that the court of ordinary of Chatham County did not have jurisdiction to grant any of such prayers. On July 11, 1945, the administrator filed, subject to his motion to dismiss the petition for want of jurisdiction, 22 grounds of demurrer to the petition. On August 7, 1945, the ordinary and judge of the court of ordinary of Chatham County overruled the motion to dismiss and all grounds of demurrer.
The administrator filed an appeal to the superior court of Chatham County from the orders and judgments overruling the motion to dismiss and the demurrer.
On November 23, 1945, the appeal came on for hearing in the superior court, at which time the judge overruled all 4 grounds of the motion to dismiss and all 22 grounds of the demurrer, and the exception here is to those rulings and judgments.
1. There is no merit in the contention of the administrator, that the petition against him should be dismissed because it was directed to the ordinary of Chatham County, Georgia, and not to the court of ordinary of that county. Courts of review in this State have always treated "ordinary" and "court of ordinary" as interchangeable terms when used in a pleading before the ordinary or in the court of ordinary. Trust Company of Ga. v. Smith,54 Ga. App. 518 (1) (188 S.E. 469), and cit.; Comer v.Ross, 100 Ga. 652 (28 S.E. 387). The petition in the present case sought to have the administrator de bonis non cum testamento annexo of the estate of Mrs. Honora Purvis, deceased, show cause before the court in which the estate was being administered why he should not be authorized and directed to pay out of funds of the estate in his possession three items, which the petitioners contended were *Page 712 
items of expense and cost of administration incurred by them while they were the legal representatives of the estate. The first item was the sum of $432.92, claimed to have been due George A. Mercer Sr., at the time of his death, as commissions for his services as executor of said estate. Under the allegations of the petition it appears that George A. Mercer Sr. died testate, and that the petitioners were nominated in his will as executors. The allegations show that they qualified as executors of his will on February 10, 1941, and have since been acting as such executors; and, as such executors, the petitioners would stand in the same place with reference to any commissions due to George A. Mercer Sr. by the estate of Mrs. Honora Purvis as he would stand, were he alive. The unsigned paper in the form of a will, which was prepared for George A. Mercer Sr. prior to his death, was a mere nullity in so far as it purported to be his will, and his will was the one dated June 18, 1940, in which the petitioners were nominated as executors.
The second item in the petition was for $75.53, allegedly due George W. Hunt as commissions for his services as executor of the estate of Mrs. Honora Purvis. The petition alleges that George W. Hunt was confirmed as executor of the will of Mrs. Honora Purvis, on September 1, 1943, and that he acted as such executor from November 14, 1940, until June 13, 1944.
The third item set out in the present petition was the auditor's fee to O'Brien  Company. The petition alleged, in substance, that the company's services were obtained by George W. Hunt, at the request of Walter B. Murphy, the administrator de bonis non cum testamento annexo, which request was made at or about the time of the qualification of the administrator; that the audit was made by O'Brien  Company and delivered to George W. Hunt, who turned it over to the administrator along with the other assets of the estate. "Among the expenses of administration shall be included and allowed the expenses of such agents as the administrator finds it necessary to employ. . . The existence of the necessity shall be satisfactorily shown to the ordinary." Code, § 113-2009. Whether or not the audit of the estate of Mrs. Honora Purvis was made by O'Brien  Company as an agent of the legal representative of the estate, and whether or not it was *Page 713 
necessary for such legal representative to employ an agent to make this audit, were matters for the ordinary to determine.
All three items set out in the petition were claimed by the petitioners to be proper items of cost and expense of administering the estate of Mrs. Honora Purvis, which estate was still pending in the court of ordinary of Chatham County, Georgia. The Code, § 24-1901, provides in part: "Courts of ordinary have authority to exercise original, exclusive, and general jurisdiction of the following subject-matters: . . 7. The auditing and passing returns of all executors, administrators, and guardians. . . 10. All such other matters and things as appertain or relate to estates of deceased persons;" and among the necessary incidents appertaining to the administration of an estate of a deceased person in the court of ordinary is the ascertaining and adjusting by such court of the various items which are to be allowed as items of expense of administration and paid as such. While the commissions of a legal representative of an estate are declared by the Code to be proper items of expense of administration (§ 113-2001), the amount of such commissions, whether or not the commissions have been forfeited by the representative in one of the ways provided by law, or paid, in whole or in part, by a previous representative, or retained by such representative on a final return made by him in said court, are all matters peculiarly within the purview of the court wherein the estate is being administered and are matters which may be determined in that court. The petition in this case is not one where creditors of an estate are seeking a judgment against the estate in the court of ordinary, but the petition is one, by former representatives of the estate — which is still pending in the court of ordinary — to have that court, by proper order, ascertain and determine which, if any, items of interlocutory costs and expense incurred by them, or owing to them, shall be included as items of costs or expenses of administration by the court in fixing the costs and expenses of administering the estate, and paid as such costs and expense in the distribution of the estate.
The cases cited and relied on by the plaintiff in error are distinguishable on their facts from the present case. In Echols
v. Almon, 77 Ga. 330 (1 S.E. 269), the Supreme Court held that the court of ordinary was without jurisdiction to issue an execution *Page 714 
in favor of an administrator against one of the distributees of the estate for a claimed overpayment, as that was a personal issue between the administrator and the distributee to be adjudicated in a court of law. In Dix v. Dix, 132 Ga. 630
(64 S.E. 790), the court held that there was no provision of law for the trial in the court of ordinary of a claim to property set apart to a widow as a twelve-month's support. In Thompson v.Allen, 160 Ga. 535 (128 S.E. 773), the Supreme Court held that the court of ordinary was without jurisdiction to award a judgment in favor of an administratrix of the executor of an estate against the children of the testator, who were legatees under his will, for money paid by the executor for the use and maintenance of such children. In Cook v. Weaver, 77 Ga. 9, the Supreme Court held that the power to cite an executor to a settlement in the court of ordinary had reference to an executor who was acting, and not to an executor who had been discharged. In Ballard v. Zachry, 54 Ga. App. 101 (187 S.E. 139), this court held that it was only an executor or administrator, standing in the relationship of an officer of court to the court of ordinary, who could be called to an accounting in that court with respect to his acts in the management of the estate. In each of those cases, the proceeding was one dealing with a claim to property, or a personal claim in favor of or against the administrator or executor, or a claim against a person who was not an officer of the court in which he was cited to appear. In the present case, no judgment is sought against the estate, nor is there any personal issue between the petitioners and the administrator de bonis non cum testamento annexo, but the petition is one to have the court of ordinary determine whether or not certain items are to be allowed as costs of administration and paid as such, and the administrator is an officer of the court in which he is cited to appear.
The petition in the present case, being one to fix interlocutory costs and expenses of administration, was within the jurisdiction of the court of ordinary as a matter necessary to the administration of an estate of a deceased person; and the court did not err in overruling the motion in the nature of a general demurrer to dismiss the petition for want of jurisdiction in the court of ordinary to grant the relief prayed for in the petition.
2. In ground 1 of the demurrer, the administrator contends *Page 715 
that the present petition is multifarious, in that it contains three distinct, unconnected, and independent causes of action against him: (1) an alleged cause of action in favor of George A. Mercer Jr. and George W. Hunt, as executors of the estate of George A. Mercer Sr.; (2) an alleged cause of action in favor of George W. Hunt, individually; and (3) an alleged cause of action in favor of O'Brien  Company. There is no merit in this contention. The petition in the present case has but a single defendant or respondent, the administrator de bonis non cum testamento annexo of the estate of Mrs. Honora Purvis, and but a single subject-matter, the ascertaining and adjusting by the court of three disputed items as interlocutory costs and expenses of administration; and each of the petitioners has an interest in having the costs and expenses of administration fixed by the court of ordinary and paid as such out of the assets of the estate in the hands of the administrator. The petition was not multifarious, as containing three distinct, unconnected, and independent causes of action, and the court did not err in overruling ground 1 of the demurrer. In this connection, seeBlaisdell v. Bohr, 68 Ga. 56 (3); City Bank of Macon v.Bartlett, 71 Ga. 797; Crandall v. Shepard, 166 Ga. 396,400 (143 S.E. 587); Williams v. State Highway Board,195 Ga. 18 (22 S.E.2d 821).
3. In grounds 2, 3, and 22 of the demurrer, the administrator contends that no cause of action is set out in the petition as to the auditor's fee allegedly due O'Brien  Company, in that it did not appear that the petitioners had the right to maintain the proceeding for such fee, or that the employment of O'Brien 
Company to make the audit was necessary, or that such necessity had been shown to the ordinary. The petitioners were not seeking a judgment against the estate in favor of O'Brien  Company, but the petition was one whereby a former representative of the estate sought to have the expense of an audit — made by O'Brien 
Company at the request of the administrator de bonis non cum testamento annexo, which audit was delivered by the former representative of the estate to the administrator along with the other assets of the estate — declared to be a proper item of expense of administration and paid as such out of the assets of the estate. Whether or not the expense of such audit is a proper item of expense of administration, is a matter to be determined by the ordinary on the *Page 716 
hearing. Under the allegations of the petition in this case, this court can not say, as a matter of law, that the employment of O'Brien  Company to make an audit of the estate was illegal or unauthorized and that the cost of such audit was not a valid item of expense of administration. The trial judge did not err in overruling grounds 2, 3, and 22 of the demurrer.
4. Grounds 4 to 15 of the demurrer are merely restatements of the grounds contained in the motion to dismiss the petition for want of jurisdiction in the ordinary or in the court of ordinary to entertain the petition or to grant any of the relief sought therein; and, for the reasons set out in the first part of this opinion, these grounds of demurrer are without merit and the court did not err in overruling them.
5. In grounds 16 to 21 of the demurrer, the administrator contends that the allegations of the petition are vague, uncertain, and indefinite as to whether or not the will of George A. Mercer Sr. was admitted to probate, and whether or not George A. Mercer Jr. and George W. Hunt qualified as executors under the will of George A. Mercer Sr., dated June 18, 1940, or whether they were purporting to act as executors under the provisions of the agreement, entered into on November 20, 1940, between the legatees, to administer the estate of Georgia A. Mercer Sr. in accordance with the provisions of an unsigned paper in the form of a will, which George A. Mercer Sr. had prepared not long before his death, but which was never signed by him or executed as his will. As stated above, the petition alleges that George A. Mercer Sr. died testate, and that his will, dated June 18, 1940, nominated or appointed petitioners as executors "of his estate," and that they qualified as such executors on February 10, 1941, and had since been acting as such executors. "The court of ordinary in the matter of administering estates is a court of general jurisdiction; and therefore its judgments cannot be collaterally attacked, unless the record negatives the existence of the necessary jurisdictional facts." Scarborough v. Long,186 Ga. 412, 415 (197 S.E. 796), and cit. The allegation that George A. Mercer Sr. died testate and that his will nominated or appointed the petitioners as executors "of his estate" was sufficient to show jurisdiction in the court of ordinary for their appointment as such executors and, as against the demurrer, was sufficient to support the allegations of the petition *Page 717 
that the petitioners qualified as executors "of the estate" of George A. Mercer Sr. on February 10, 1941. and had since acted as such. Therefore the court did not err in overruling grounds 16 to 21 inclusive of the demurrer.
The petition was not subject to be dismissed for any reason assigned in the motion, nor were the allegations of the petition subject to the objections set out in the grounds of demurrer, and the court did not err in overruling the motion to dismiss and the demurrer.
Pursuant to the act of the General Assembly, approved March 8, 1945 (Ga. L. 1945, page 232), requiring that the full court consider any case in which one of the judges of a division may dissent, this case was considered and decided by the court as a whole.
Judgment affirmed. Broyles, C. J., MacIntyre, Gardner, andParker, JJ., concur.